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                           NONPRECEDENTIALȱDISPOSITION
                            Toȱbeȱcitedȱonlyȱinȱaccordanceȱwithȱ
                                     Fed.ȱR.ȱApp.ȱP.ȱ32.1



              United States Court of Appeals
                                   ForȱtheȱSeventhȱCircuit
                                   Chicago,ȱIllinoisȱ60604

                                SubmittedȱFebruaryȱ25,ȱ2009*
                                  DecidedȱMarchȱ2,ȱ2009

                                            Before

                             FRANKȱH.ȱEASTERBROOK,ȱChiefȱJudge

                         ȱȱȱ ILANAȱDIAMONDȱROVNER,ȱCircuitȱJudge

                         ȱȱȱ TERENCEȱT.ȱEVANS,ȱCircuitȱJudge
No.ȱ08Ȭ2259

SHREEȱMOHANȱAGRAWAL,                                 AppealȱfromȱtheȱUnitedȱStatesȱDistrictȱ
     PlaintiffȬAppellant,                            CourtȱforȱtheȱNorthernȱDistrictȱofȱIllinois,
                                                     EasternȱDivision.
       v.
                                                     No.ȱ07ȱCȱ4283
REBECCAȱR.ȱPALLMEYER,ȱetȱal.,
     DefendantsȬAppellees.                           JamesȱT.ȱMoody,**
                                                     Judge.

                                          OȱRȱDȱEȱR

         IllinoisȱprisonerȱShreeȱAgrawalȱappealsȱtheȱdismissalȱunderȱ28ȱU.S.C.ȱ§ȱ1915Aȱofȱhis
civilȱrightsȱaction.ȱȱWeȱaffirm.




       *
         ȱDefendantsȬappelleesȱwereȱnotȱservedȱwithȱprocessȱinȱtheȱdistrictȱcourtȱandȱhave
electedȱnotȱtoȱfileȱaȱbriefȱonȱappeal.ȱȱAfterȱexaminingȱtheȱappellant’sȱbriefȱandȱtheȱrecord,ȱwe
haveȱconcludedȱthatȱoralȱargumentȱisȱunnecessary.ȱȱThusȱtheȱappealȱisȱsubmittedȱonȱthe
appellant’sȱbriefȱandȱtheȱrecord.ȱȱSeeȱFED.ȱR.ȱAPP.ȱP.ȱ34(a)(2).
        **ȱ
            TheȱHonorableȱJamesȱT.ȱMoody,ȱUnitedȱStatesȱDistrictȱJudgeȱforȱtheȱNorthern
DistrictȱofȱIndiana,ȱsittingȱbyȱdesignation.ȱȱ
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        Agrawalȱfiledȱhisȱfirstȱcomplaintȱunderȱ42ȱU.S.C.ȱ§ȱ1983,ȱallegingȱthatȱprisonȱofficials
discriminatedȱagainstȱhimȱbasedȱonȱhisȱreligionȱbyȱdenyingȱhimȱfoodȱrequiredȱbyȱhisȱHindu
faith.ȱȱAgrawalȱv.ȱBriley,ȱetȱal.,ȱNo.ȱ1:02ȬcvȬ6807ȱ(N.D.ȱIll.ȱfiledȱSept.ȱ23,ȱ2002).ȱȱTheȱcomplaint
wasȱassignedȱtoȱDistrictȱJudgeȱRebeccaȱPallmeyer,ȱwhoȱeventuallyȱrecruitedȱRonaldȱSafer,
NeilȱLloyd,ȱKristenȱMercado,ȱandȱBrookeȱAnthonyȱofȱSchiffȱHardin,ȱLLPȱtoȱrepresent
Agrawal.ȱȱAfterȱtheseȱattorneysȱdeclinedȱAgrawal’sȱrequestȱtoȱfileȱaȱsupplemental
complaint,ȱAgrawalȱmovedȱproȱseȱforȱleaveȱtoȱfileȱoneȱhimself;ȱhisȱmotionȱinȱturnȱwas
opposedȱbyȱtheȱprisonȱofficials’ȱcounsel,ȱAndrewȱLambertsonȱofȱtheȱIllinoisȱAttorney
General’sȱOffice.ȱȱJudgeȱPallmeyerȱdeniedȱtheȱmotionȱbecauseȱAgrawalȱalreadyȱhad
representation.ȱȱEventuallyȱAgrawal’sȱattorneysȱmovedȱforȱleaveȱtoȱwithdraw.ȱȱJudge
PallmeyerȱgrantedȱthisȱmotionȱandȱdeclinedȱtoȱrecruitȱanotherȱlawyerȱtoȱrepresentȱAgrawal.ȱ



        Agrawalȱthenȱfiledȱanotherȱcomplaintȱ(thatȱformsȱtheȱbasisȱofȱthisȱappeal)ȱagainst
JudgeȱPallmeyer,ȱtheȱfourȱSchiffȱHardinȱlawyers,ȱandȱLambertson.ȱȱAgrawalȱallegedȱthatȱall
ofȱtheȱdefendants,ȱincludingȱJudgeȱPallmeyer,ȱviolatedȱhisȱrightȱofȱaccessȱtoȱtheȱcourt,
breachedȱtheirȱfiduciaryȱduties,ȱandȱconspiredȱtoȱdoȱtheȱsameȱinȱviolationȱofȱ42ȱU.S.C.
§§ȱ1983,ȱ1985,ȱandȱBivensȱv.ȱSixȱUnknownȱNamedȱAgentsȱofȱFed.ȱBureauȱofȱNarcotics,ȱ403ȱU.S.
388ȱ(1971).ȱȱAnticipatingȱthatȱtheȱdoctrineȱofȱjudicialȱimmunityȱwouldȱprecludeȱsuitȱagainst
JudgeȱPallmeyer,ȱheȱalsoȱallegedȱthatȱtheȱdoctrineȱwasȱunconstitutional.ȱ

        DistrictȱJudgeȱJamesȱMoodyȱscreenedȱtheȱcomplaintȱunderȱ28ȱU.S.C.ȱ§ȱ1915Aȱand
dismissedȱit,ȱconcludingȱthatȱJudgeȱPallmeyerȱandȱdefendantȱLambertsonȱwereȱimmune
fromȱsuit,ȱthatȱAgrawalȱdidȱnotȱallegeȱclassȬbasedȱanimusȱtoȱsupportȱhisȱconspiracyȱclaim,
andȱthatȱtheȱfourȱSchiffȱHardinȱattorneysȱwereȱnotȱsubjectȱtoȱsuitȱunderȱeitherȱ§ȱ1983ȱor
Bivens.ȱ

         OnȱappealȱAgrawalȱarguesȱthatȱ§ȱ1915Aȱviolatesȱhisȱrightȱtoȱequalȱprotectionȱbecause
nonȬprisonersȱareȱnotȱsubjectȱtoȱsuchȱaȱscreening,ȱandȱfurthermoreȱthatȱ§ȱ1915Aȱbearsȱno
rationalȱrelationshipȱtoȱanyȱlegitimateȱgovernmentalȱinterest.ȱȱTheseȱargumentsȱare
frivolous.ȱȱTheȱdistrictȱcourtȱappropriatelyȱdismissedȱAgrawal’sȱcomplaintȱbecauseȱitȱwas
defective.ȱȱInȱlightȱofȱthisȱresolution,ȱweȱhaveȱnoȱreasonȱtoȱconsiderȱhisȱconstitutional
objectionsȱtoȱ§ȱ1915A.ȱȱSeeȱKogerȱv.ȱBryan,ȱ523ȱF.3dȱ789,ȱ801ȱ(7thȱCir.ȱ2008)ȱ(quotingȱISIȱInt’l,
Inc.ȱv.ȱBordenȱLadnerȱGervaisȱLLP,ȱ256ȱF.3dȱ548,ȱ552ȱ(7thȱCir.ȱ2001)).ȱȱ

       Next,ȱAgrawalȱarguesȱthatȱtheȱdistrictȱcourtȱerredȱinȱdismissingȱhisȱclaimsȱagainst
JudgeȱPallmeyerȱonȱtheȱbasisȱofȱjudicialȱimmunity.ȱȱHeȱsuggests,ȱconfusingly,ȱthatȱjudicial
immunityȱsomehowȱviolatesȱhisȱrightȱtoȱequalȱprotectionȱbecauseȱheȱisȱtreatedȱdifferently
fromȱplaintiffsȱwhoȱsueȱdefendantsȱnotȱsoȱimmunized.ȱȱThisȱargumentȱisȱalsoȱfrivolous.ȱ
Agrawalȱmisunderstandsȱtheȱpurposeȱofȱjudicialȱimmunity.ȱȱTheȱdoctrineȱprotectsȱjudges
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fromȱtheȱfearȱofȱfutureȱlitigationȱbroughtȱbyȱdisgruntledȱlitigantsȱunhappyȱwithȱjudicial
decisionȬmaking.ȱȱSeeȱForresterȱv.ȱWhite,ȱ484ȱU.S.ȱ219,ȱ226Ȭ27ȱ(1988).ȱ

        AgrawalȱalsoȱintimatesȱthatȱhisȱclaimȱagainstȱdefendantȱLambertsonȱwasȱwrongly
dismissedȱbecause,ȱheȱsays,ȱheȱadequatelyȱallegedȱthatȱLambertsonȱconspiredȱwith
Agrawal’sȱattorneysȱandȱJudgeȱPallmeyerȱtoȱpreventȱhimȱfromȱfilingȱadditionalȱclaimsȱinȱhis
firstȱcomplaint.ȱȱBut,ȱlikeȱJudgeȱPallmeyer,ȱdefendantȱLambertsonȱisȱentitledȱtoȱabsolute
immunityȱinȱdefendingȱtheȱgovernmentȱinȱcivilȱlitigation.ȱȱSeeȱSpearȱv.ȱTownȱofȱW.ȱHartford,
954ȱF.2dȱ63,ȱ66ȱ(2dȱCir.ȱ1992);ȱAuriemmaȱv.ȱMontgomery,ȱ860ȱF.2dȱ273,ȱ275Ȭ76ȱ(7thȱCir.ȱ1988).ȱȱ

        Finally,ȱAgrawalȱchallengesȱtheȱdismissalȱofȱhisȱclaimsȱagainstȱhisȱattorneys.ȱȱHe
arguesȱthatȱheȱstatedȱaȱclaimȱagainstȱhisȱattorneysȱunderȱ§ȱ1985ȱforȱconspiringȱtoȱprevent
himȱfromȱaddingȱclaimsȱtoȱhisȱfirstȱcomplaint.ȱȱButȱtheȱattorneys’ȱrefusalȱtoȱfileȱa
supplementalȱcomplaintȱasȱrequestedȱbyȱAgrawalȱdoesȱnotȱsuggestȱtheȱexistenceȱofȱaȱ§ȱ1985
conspiracy.ȱSeeȱRedwoodȱv.ȱDobson,ȱ476ȱF.3dȱ462,ȱ466ȱ(7thȱCir.ȱ2007);ȱBrokawȱv.ȱMercerȱCounty,
235ȱF.3dȱ1000,ȱ1024ȱ(7thȱCir.ȱ2000).ȱȱHeȱalsoȱinsistsȱthatȱheȱstatedȱaȱclaimȱagainstȱhis
attorneysȱunderȱbothȱ§ȱ1983ȱandȱBivens,ȱbutȱtheȱSchiffȱHardinȱdefendantsȱareȱallȱprivate
attorneysȱwhoȱactedȱneitherȱunderȱcolorȱofȱstateȱlawȱnorȱfederalȱauthority.ȱȱSeeȱSimmonsȱv.
SacramentoȱCountyȱSuper.ȱCt.,ȱ318ȱF.3dȱ1156,ȱ1161ȱ(9thȱCir.ȱ2003);ȱFriesȱv.ȱHelsper,ȱ146ȱF.3d
452,ȱ458ȱ(7thȱCir.ȱ1998);ȱBivens,ȱ403ȱU.S.ȱatȱ389;ȱRichardsȱv.ȱKiernan,ȱ461ȱF.3dȱ880,ȱ883ȱ(7thȱCir.
2006).ȱ

       Forȱtheȱforegoingȱreasons,ȱweȱaffirmȱtheȱjudgmentȱofȱtheȱdistrictȱcourt.ȱ
